                                                              July 23, 2021

TO: ATTACHED SERVICE LIST

       Re:    Black Creek Condos, LLC – Chapter 11 Case No. 21-15192-SLM
              Black Creek Condos 57592, LLC – Chapter 11 Case No. 21-15194-SLM
              Black Creek Condos 57593, LLC – Chapter 11 Case No. 21-15193-SLM
              Camp Monte - Chapter 11 Case No. 21-15195-SLM

Dear Sir/Madam:

       This firm represents the above-referenced Chapter 11 Debtors-in-Possession. Please be
advised that the 341(a) Meeting of Creditors scheduled on July 28, 2021 at 11:00 a.m. has been
adjourned to August 4, 2021 at 11:00 a.m. and will be conducted telephonically, with call in
number 1-844-875-7777; access code 441192.

       Please contact the undersigned with any questions on this matter.

                                                      Very truly yours,

                                                      HOOK & FATOVICH, LLC

                                                      /s/ Milica A. Fatovich
                                                      MILICA A. FATOVICH




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